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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR11-213-TSZ
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   NANCY STONE,                         )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Social Security Fraud: Concealing Events Affecting Rights to Benefits;

15 Social Security Fraud: False Statement for Determining Rights to Benefits (2 counts); Theft of

16 Government Funds: Social Security; Theft of Government Funds: Health and Human Services

17 Date of Detention Hearing:     June 29, 2011.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably

21 assure the appearance of defendant as required and the safety of other persons and the

22 community.



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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          1.     Defendant and her common law husband are charged with participating in a

03 decades-long scheme to obtain disability benefits by allegedly claiming that he was disabled

04 due to mental impairments and back pain.

05          2.     The AUSA proffers documents taken from the house in which defendant was

06 living, which the AUSA contends are indicative of ownership and/or control of the house by

07 defendant and her common law husband, although the house was purchased under another

08 individual’s name. The defendant asserts that she only rents a room in the house. The AUSA

09 proffers additional documents to argue that defendant has not been truthful with Pretrial

10 Services about her assets and financial status.

11          3.     Firearms were also found on the premises. Charges are currently pending

12 against defendant and her common law husband with the Kent Police Department for

13 Harassment—Death Threats. The Certification for Determination of Probable Cause indicates

14 the defendant made threats to harm the victim’s person and property through “beating” and

15 “bombing their places” as well as threats to kill and hurt their family.

16          4.     Defendant poses a risk of nonappearance due to termination of her source of

17 income, unverified financial information, contradictory information provided by her

18 verification source, and the suggestion of undisclosed assets. She poses a risk of danger based

19 on the nature of the instant offense, pending charges for threats and alleged harassment and

20 unverified financial information.

21          5.     There does not appear to be any condition or combination of conditions that will

22 reasonably assure the defendant’s appearance at future Court hearings while addressing the



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01 danger to other persons or the community.

02 It is therefore ORDERED:

03     1. Defendant shall be detained pending trial and committed to the custody of the Attorney

04         General for confinement in a correction facility separate, to the extent practicable, from

05         persons awaiting or serving sentences or being held in custody pending appeal;

06     2. Defendant shall be afforded reasonable opportunity for private consultation with

07         counsel;

08     3. On order of the United States or on request of an attorney for the Government, the

09         person in charge of the corrections facility in which defendant is confined shall deliver

10         the defendant to a United States Marshal for the pupose of an appearance in connection

11         with a court proceeding; and

12     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

13         for the defendant, to the United States Marshal, and to the United State Pretrial Services

14         Officer.

15         DATED this 29th day of June, 2011.

16

17                                                       A
                                                         Mary Alice Theiler
18                                                       United States Magistrate Judge

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